Case 4:14-cv-00681-BRW Document 10 Filed 02/24/15 Page 1 of 1

UNITED STATES DISTRICT CGURT
EASTERN DISTRICT OF ARKANSAS

WESTERN DIVISION
)
Michael D. Bull ) Case No.: 4:14-cv-680-BRW
)
Plaintiff, )
)
V. )
)
Bank of America, N.A. )
)
Defendant. )
)

 

STIPULATION OF DISMISSAL WITHOUT PREJUDICE

IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff, Michael D.
Bull and the Defendant, Bank of America, N.A. Via their respective counsel that, pursuant to
Federal Rule of Civil Procedure Rule 41(a)(1)(A)(ii), the above captioned matter is hereby
dismissed against Defendant Bank of Ainerica, N.A. Without prejudice and Without costs or

attorney’s fees to any party.

Respectfully submitted this 23 day of February, 2015.

WE SO STIPULATEZ
s/ J. R. Andrevvs l Qt£Y/\/' ; 2 M

J. R. Andrews, AR Bar No. 92041 Judy Si1 ons Henry, AR Bar No. 84069
AttOm€Y at LaW_ Wright, Lindsey & Jennings LLP
2014 Maffha DHV€ 200 West Capitol Ave., suite 2300

Little Rock, AR 72212
T:501.680.3634
irandrewsattv@yahoo.coin

Little Rock, AR 72201
T: 501-371-0808
F: 501 -376-9442
ATTORNEY FOR PLAINTIFF ]`heiny@le .com

ATTORNEY FOR DEFENDANT

